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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                             BILLINGS DIVISION


KENNETH DERHEIM,                              Case No. CV-20-167-BLG-KLD

                      Plaintiff,              JUDGMENT IN A CIVIL CASE

  vs.

TACOMA SCREW PRODUCTS,
INC.,

                      Defendant.



       Jury Verdict. This action came before the Court for a trial by jury. The
issues have been tried and the jury has rendered its verdict.

X     Decision by Court. This action came before the Court for bench trial,
hearing, or determination on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED that this case is dismissed pursuant to
Federal Rule of Civil Procedure 41(b) for failure to prosecute and failure to comply
with the Court’s orders.

        Dated this 7th day of June, 2021.

                                   TYLER P. GILMAN, CLERK

                                   By: /s/ A. Puhrmann
                                   A. Puhrmann, Deputy Clerk
